JOHN E. KUHN, JR.
United States Attorney

JACQUELYN A. TRAINI
Assistant U.S. Attorney
U.S. Attorney’s Office, District of Alaska
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Rm. 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-2344
E-mail: Jackie.Traini@usdoj.gov

Attorneys for Defendant

               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA


  VIRGINIA B. ALECK,                         )
                                             )
                     Plaintiff,              )
                                             )
         vs.                                 )
                                             )
  UNITED STATES OF AMERICA, DR.
                                             )
  BENJAMIN A. GARNETT, AND ALSKA
  NATIVE MEDICAL CENTER,                     )
                                             ) Case No. 3:21-cv-00147-TMB
                     Defendant.              )
                                             )

               REPLY TO PLAINTIFF’S OPPOSITION TO
                UNITED STATES’ MOTION TO DISMISS

      In her Response to the Government’s motion to dismiss, the Plaintiff

claims that in “[b]oth her FTCP claim and civil complaint [she] allege[s] [an]

amount in excess of $200,000 in economic and noneconomic damages.” Dkt 13



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at p.3. Plaintiff goes on to state that she wasn’t required to submit Standard

Form 95 1 and that her claim for damages, in sum certain, is $222,749.24. She

contends that because she was on Medicare, ANMC could have billed her

insurance and therefore, she is entitled to economic damages. Because Plaintiff

did not claim noneconomic damages at the administrative level and does not

have economic damages, her case must be dismissed.

    I.     Plaintiff did not claim noneconomic damages at the
           administrative level.

         An individual pursuing a claim under the FTCA is bound by the damages

they sought at the administrative level. 28 U.S.C. § 2675; see also Nigh v. U.S.

ex rel. U.S. Agric. Dep’t, 534 F. Supp. 2d 1170 (D. Mont. 2008) (trial court

applied the 28 U.S.C. § 2675(a) requirement that FTCA claims are limited to

what was sought at the administrative level). In her Response, Plaintiff claims

she “[b]oth her FTCP claim and civil complaint [she] allege[d] [an] amount in

excess of $200,000 in economic and noneconomic damages.” Dkt 13 at p.3.

Plaintiff is incorrect.

         Plaintiff’s response sidesteps the issue at hand—that she cannot pursue

claims under the FTCA that she did not seek at the administrative level. 28


1The Government has never contended she was required to file a Standard
Form 95, but notes the form is useful for ascertaining damages and
perfecting a potential claim.
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U.S.C. § 2675(a). Her own exhibit demonstrates the undisputed truth: she did

not seek noneconomic damages at the administrative level. Dkt. 12-1. Even

had she made a general claim for “noneconomic” damages at the

administrative level, that claim would have still been insufficient as the claim

must be for a sum certain. Caidin v. United States, 564 F.2d 284, 287 (9th

Cir.1977) (“[T]he sum certain requirement demands more than mere general

notice to the government of the approximate amount of a claim. Since the

purpose of the administrative claim is to facilitate settlement of these disputes,

a specific dollar amount is necessary to allow realistic assessment of the

settlement value of a case.” (citations omitted). Plaintiff did not make a claim

for noneconomic damages at the administrative level and therefore, is barred

from pursuing them under the FTCA.

   II.      The ANMC charges are not actual economic damages.

         As discussed in the Government’s motion at Dkt. 12, a tort must have

damages and while the Plaintiff did claim economic damages in a sum certain

at the administrative level, she is not liable for any ANMC medical bills and

thus, has no actual economic damages.

         In her Response, Plaintiff claims that she is entitled to recover because

Medicare paid some of her medical bills. Dkt. 13 at 5. Notably, Plaintiff does

not claim she personally paid any medical bills. Medicare would retain a lien
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on any potential recovery made by Plaintiff and thus, no damages are available

to her. See 42 U.S.C. § 1395y(b)(2)(B)(ii); see also AS 09.55.548(b) (allowing an

offset for collateral benefits unless the collateral source has a right to seek

subrogation).

      In short, Plaintiff was never personally billed by ANMC and rendered no

payment for her medical services. By her own admission, the Government has

already rendered payment for her medical services.

                                 Conclusion

      Because the Plaintiff has no claim for actual damages, she has no

cognizable legal theory and has failed to state a claim upon which relief can be

granted. This Court should, therefore, dismiss her claims for failure to state a

claim.



      RESPECTFULLY SUBMITTED this 1st day of February 2022, in

Anchorage, Alaska.

                                           JOHN E. KUHN, JR.
                                           United States Attorney


                                           s/ Jacquelyn A. Traini
                                           Assistant U.S. Attorney
                                           Attorney for the Defendant



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CERTIFICATE OF SERVICE
I hereby certify that on February 1, 2022,
a copy of the foregoing was served electronically to:

Jeffrey H. Vance
Ty A. Farnsworth
Farnsworth & Vance
Attorneys for Plaintiff


s/ Jacquelyn A. Traini
Office of the U.S. Attorney




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